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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                                CASE NO.:

  CARLOS CUESTA,

              Plaintiff,
  v.

  SADDLERIDGE HOLDINGS, L.L.C.;
  DOCTOR LIMON, CORP.; and ROSS
  DRESS FOR LESS INC.,

          Defendants.
  ______________________________________/

                                              COMPLAINT

         Plaintiff, CARLOS CUESTA, individually and on behalf of all other similarly situated

  mobility-impaired individuals (hereinafter “Plaintiff”), sues SADDLERIDGE HOLDINGS,

  L.L.C.; DOCTOR LIMON, CORP.; and ROSS DRESS FOR LESS INC. (hereinafter

  “Defendant”), and as grounds alleges:

                               JURISDICTION, PARTIES. AND VENUE

         1.         This is an action for injunctive relief, a declaration of rights, attorneys' fees,

  litigation expenses, and costs pursuant to 42 U.S.C. § 12181, et seq., (the “Americans with

  Disabilities Act” or “ADA”) and 28 U.S.C. §§ 2201 and 2202.

         2.         The Court has original jurisdiction over Plaintiff’s claims arising under 42 U.S.C.

  § 12181, et seq. pursuant to 28 U.S.C. §§ 1331, 1343 and 42 U.S.C. § 12117(a).

         3.         The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 2201 and 2202,

  and may render declaratory judgment on the existence or nonexistence of any right under 42

  U.S.C. § 12181, et seq.

         4.         Plaintiff, CARLOS CUESTA, is an individual over eighteen years of age, residing
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  in Miami-Dade County, Florida, and is otherwise sui juris.

          5.       At all times material, Defendant, SADDLERIDGE HOLDINGS, L.L.C., owned

  and operated a retail shopping center at 10520 SW 8th Street, Miami, Florida 33174 (hereinafter

  the “Commercial Property”) and conducted a substantial amount of business in that place of public

  accommodation in Miami-Dade, Florida. Defendant, SADDLERIDGE HOLDINGS, L.L.C.,

  holds itself out to the public as “Florida International Plaza.”

          6.       At all times material, Defendant, SADDLERIDGE HOLDINGS, L.L.C., was and

  is a Foreign Limited Liability Company, organized under the laws of the State of Delaware, with

  its principal place of business in Sunny Isles Beach, Florida.

          7.       At all times material, Defendant, DOCTOR LIMON, CORP., owned and operated

  a commercial restaurant business at 10548 SW 8th Street, Miami, Florida 331741 (hereinafter the

  “Commercial Property”) and conducted a substantial amount of business in the place of public

  accommodation in Miami-Dade, Florida. Defendant, DOCTOR LIMON, CORP., holds itself out

  to the public as “Dr. Limon Ceviche Bar.”

          8.       At all times material, Defendant, DOCTOR LIMON, CORP., was and is a Florida

  Profit Corporation, incorporated under the laws of the State of Florida, with its principal place of

  business in Miami, Florida.

          9.       At all times material, Defendant, ROSS DRESS FOR LESS INC., owned and

  operated a retail convenience store at 10576 SW 8th Street, Miami, Florida 331742 (hereinafter

  the “Commercial Property”) and conducted a substantial amount of business in the place of public

  accommodation in Miami-Dade, Florida. Defendant, ROSS DRESS FOR LESS INC., holds itself


  1
    This address is located within the retail shopping center and place of public accommodation at 10520 SW 8th
  Street, Miami, Florida 33174 owned and operated by landlord Defendant, SADDLERIDGE HOLDINGS, L.L.C.
  2
    This address is located within the retail shopping center and place of public accommodation at 10520 SW 8th
  Street, Miami, Florida 33174 owned and operated by landlord Defendant, SADDLERIDGE HOLDINGS, L.L.C.

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  out to the public as “DD’s Discounts #5279.”

         10.     At all times material, Defendant, ROSS DRESS FOR LESS INC., was and is a

  Foreign Profit Corporation, incorporated under the laws of the State of Virginia, with its principal

  place of business in Dublin, California.

         11.     Venue is properly located in the Southern District of Florida because Defendant’s

  Commercial Property is located in Miami-Dade County, Florida, Defendants regularly conduct

  business within Miami-Dade County, Florida, and because a substantial part(s) of the events or

  omissions giving rise to these claims occurred in Miami-Dade County, Florida.

                                         FACTUAL ALLEGATIONS

         12.     Although over twenty-eight (28) years has passed since the effective date of Title

  III of the ADA, Defendant has yet to make its facilities accessible to individuals with disabilities.

         13.     Congress provided commercial businesses one and a half years to implement the

  Act. The effective date was January 26, 1992. In spite of this abundant lead-time and the extensive

  publicity the ADA has received since 1990, Defendant continue to discriminate against people

  who are disabled in ways that block them from access and use of Defendant’s business and

  properties.

         14.     The ADA prohibits discrimination on the basis of disability in 28 CFR 36.201 and

  requires landlords and tenants to be liable for compliance.

         15.     Plaintiff, CARLOS CUESTA, is an individual with disabilities as defined by and

  pursuant to the ADA. Plaintiff is, among other things, a hemiplegic with partial paralysis on his

  left side of the body. His mobility is limited and can only stand for short intervals. He also has

  great deal of trouble walking more than short distances. He is limited in his major life activities

  by such, including but not limited to walking, standing, grabbing, grasping and/or pinching.



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          16.    Defendant, SADDLERIDGE HOLDINGS, L.L.C., INC., owns, operates and

  oversees the Commercial Property, its general parking lot and parking spots.

          17.    The subject Commercial Property is open to the public and is located in Miami

  Gardens, Miami-Dade County, Florida.

          18.    The individual Plaintiff visits the Commercial Property and business located within

  the Commercial Property, regularly, and returned to the Property to document the ADA barriers

  at the Commercial Property and business located within the Commercial Property on or about

  May 26, 2021 encountering multiple violations of the ADA that directly affected his ability to use

  and enjoy the Commercial Property and business located therein. He often visits the Commercial

  Property and business located within the Commercial Property in order to avail himself of the

  goods and services offered there, and because it is approximately ten (10) miles from his

  residence, and is near his friends’ residences as well as other business he frequents as a patron.

  He plans to return to the Commercial Property and the business located within the Commercial

  Property within two (2) months of filing this Complaint, specifically on or before September 4,

  2021.

          19.    Plaintiff resides nearby in the same County and state as the Commercial Property

  and the business located within the Commercial Property, has regularly frequented the

  Defendants’ Commercial Property and the business located within the Commercial Property for

  the intended purposes because of the proximity to his and his friends’ residences and other

  business that he frequents as a patron, and intends to return to the Commercial Property and

  business located within the Commercial Property within two (2) months from the filing of this

  Complaint. Specifically, Plaintiff intends to revisit the Property on or before September 4, 2021.

          20.    The Plaintiff found the Commercial Property, and the business located within the



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  Commercial Property to be rife with ADA violations. The Plaintiff encountered architectural

  barriers at the Commercial Property, and business located within the Commercial Property and

  wishes to continue his patronage and use of each of the premises.

         21.     The Plaintiff has encountered architectural barriers that are in violation of the ADA

  at the subject Commercial Property, and business located within the Commercial Property. The

  barriers to access at Defendant’s Commercial Property, and the business located within the

  Commercial Property has each denied or diminished Plaintiff’s ability to visit the Commercial

  Property, and business located within the Commercial Property, and has endangered his safety in

  violation of the ADA. The barriers to access, which are set forth below, has likewise posed a risk

  of injury(ies), embarrassment, and discomfort to Plaintiff, CARLOS CUESTA, and others

  similarly situated.

         22.     Defendants, SADDLERIDGE HOLDINGS, L.L.C.; DOCTOR LIMON, CORP.;

  and ROSS DRESS FOR LESS INC., own and operate a place of public accommodation as defined

  by the ADA and the regulations implementing the ADA, 28 CFR 36.201 (a) and 36.104.

  Defendants, SADDLERIDGE HOLDINGS, L.L.C.; DOCTOR LIMON, CORP.; and ROSS

  DRESS FOR LESS INC., are responsible for complying with the obligations of the ADA. The

  place of public accommodation that Defendants, SADDLERIDGE HOLDINGS, L.L.C.;

  DOCTOR LIMON, CORP.; and ROSS DRESS FOR LESS INC., own and/or operate is located

  at 10520 SW 8th Street, Miami, Florida 33174.

         23.     Plaintiff, CARLOS CUESTA, has a realistic, credible, existing and continuing

  threat of discrimination from the Defendant’s non-compliance with the ADA with respect to the

  described Commercial Property and the business located within the Commercial Property,

  including but not necessarily limited to the allegations in this Complaint. Plaintiff has reasonable



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  grounds to believe that he will continue to be subjected to discrimination at the Commercial

  Property, and business located within the Commercial Property, in violation of the ADA. Plaintiff

  desires to visit the Commercial Property and business located therein, not only to avail himself of

  the goods and services available at the Commercial Property, and business located within the

  Commercial Property, but to assure himself that the Commercial Property and business located

  within the Commercial Property are in compliance with the ADA, so that he and others similarly

  situated will has full and equal enjoyment of the Commercial Property, and business located

  within the Commercial Property without fear of discrimination.

         24.     Defendant, SADDLERIDGE HOLDINGS, L.L.C., INC., as landlord and owner of

  the Commercial Property Business, is responsible for all ADA violations listed in both Counts of

  this Complaint.

         25.     Defendants have discriminated against the individual Plaintiff by denying him

  access to, and full and equal enjoyment of, the goods, services, facilities, privileges, advantages

  and/or accommodations of the Commercial Property, and business located within the Commercial

  Property, as prohibited by 42 U.S.C. § 12182 et seq.

                                    COUNT I – ADA VIOLATIONS
                                  SADDLERIDGE HOLDINGS, L.L.C.

         26.     The Plaintiff adopts and re-alleges the allegations set forth in paragraphs 1 through

  25 above as though fully set forth herein.

         27.     Defendant, SADDLERIDGE HOLDINGS, L.L.C., has discriminated, and

  continues to discriminate, against Plaintiff in violation of the ADA by failing, inter alia, to have

  accessible facilities by January 26, 1992 (or January 26, 1993, if a Defendants have 10 or fewer

  employees and gross receipts of $500,000 or less).         A list of the violations that Plaintiff

  encountered during his visit to the Commercial Property, include but are not limited to, the


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       following:

          A. Parking and Exterior Accessible Route

  i.      Accessible spaces are not located on compliant accessible routes to enter the buildings,

          preventing Mr. Cuesta’s safe unloading from vehicles and accessing facilities violating

          ADAAG Section 4.6 and Section 502 of the 2010 ADA Standards where the solution is readily

          achievable.

 ii.       FIU Center areas have parking for over 200 cars without adequate compliant spaces

          designated as accessible. Spaces are improperly marked, lack clear access aisles and have

          abrupt changes of level within the spaces, violating Sections 502, 502.3 and 502.4 of the 2010

          ADA Standards. Conditions prevent the free and safe unloading from vehicles for Mr. Cuesta

          as a wheelchair user.

iii.      Curb ramps to access the FIU Center stores are improperly designed with excessive slopes and

          cross slopes. There are ramps obstructing access aisles preventing use by Mr. Cuesta.

iv.       FIU Center lacks compliant accessible routes to adjacent bus stop, street or sidewalk impeding

          Mr. Cuesta and violating Sections 206.2.1 and 502 of the 2010 ADAS.

          B. Entrance Access and Path of Travel

  i.      Curb ramps leading to store areas from parking have excessive slopes and cross slopes

          endangering Mr. Cuesta violating 2010 ADAS Section 405 and ADAAG Section 4.7.

 ii.      Chairs and tables obstruct walkways and impede Mr. Cuesta’s path of travel to and through

          FIU Center areas and from streets, sidewalks and transit violating ADAAG Section 4.3 and

          2010 ADAS Sections 303, 304 and 403.

                             COUNT II – ADA VIOLATIONS
                SADDLERIDGE HOLDINGS, L.L.C. AND DOCTOR LIMON, CORP.

              28.    The Plaintiff adopts and re-alleges the allegations set forth in paragraphs 1 through


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       25 above as though fully set forth herein.

              29.     Defendants, SADDLERIDGE HOLDINGS, L.L.C. and DOCTOR LIMON,

       CORP., have discriminated, and continues to discriminate, against Plaintiff in violation of the

       ADA by failing, inter alia, to have accessible facilities by January 26, 1992 (or January 26, 1993,

       if a Defendants have 10 or fewer employees and gross receipts of $500,000 or less). A list of the

       violations that Plaintiff encountered during his visit to the Commercial Property, include but are

       not limited to, the following:

          A. Access to Goods and Services

  i.      Dining, check-out and work surface areas throughout FIU Center are inaccessible to the

          plaintiff and violate various ADAAG and 2010 ADAS requirements.

 ii.      FIU Center fails to make reasonable accommodations in policies, practices and procedures to

          provide full and equal enjoyment of disabled individuals and does not maintain the elements

          required to be accessible and usable by persons with disabilities violating Section 36.211 of

          the ADAAG and the 2010 ADA Standards.

          B. Public Restrooms

  i.      Mr. Cuesta could not access tenant restrooms, violating the ADAAG and 2010 ADAS Section

          603. The door to enter the restroom in Dr Limon is obstructed by stored chairs violating

          ADAAG and Section 404 of the 2010 ADAS.

 ii.      Mr. Cuesta could not safely use tenant restroom water closet in Dr Limon there is no rear and

          an improper side grab bar and its seat is under 16” high violating Section 4.16 of the ADAAG

          and 2010 ADAS Section 604.

iii.      Plaintiff could not use coat hooks, soap, towel and seat cover dispensers mounted beyond

          reach ranges in Section 4.2 of the ADAAG and ADAAS Section 308 in tenant restrooms.



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          Toilet paper dispensers are improperly located in violation of ADAAG Section 4.16 and the

          2010 ADAS in tenant restrooms

iv.       Plaintiff could not use tenant restroom lavatories or mirrors. Dr Limon lacks knee and toe

          space at the sink and the mirror is mounted beyond limits in ADAAG Section 4.19 and ADAS

          Sections 603.3 and 606.

                             COUNT III – ADA VIOLATIONS
               SADDLERIDGE HOLDINGS, L.L.C. AND ROSS DRESS FOR LESS INC.

              30.     The Plaintiff adopts and re-alleges the allegations set forth in paragraphs 1 through

       25 above as though fully set forth herein.

              31.     Defendants, SADDLERIDGE HOLDINGS, L.L.C. and ROSS DRESS FOR LESS

       INC., have discriminated, and continues to discriminate, against Plaintiff in violation of the ADA

       by failing, inter alia, to have accessible facilities by January 26, 1992 (or January 26, 1993, if a

       Defendants have 10 or fewer employees and gross receipts of $500,000 or less). A list of the

       violations that Plaintiff encountered during his visit to the Commercial Property, include but are

       not limited to, the following:

          A. Access to Goods and Services

  i.      Dining, check-out and work surface areas throughout FIU Center are inaccessible to the

          plaintiff and violate various ADAAG and 2010 ADAS requirements.

 ii.      FIU Center fails to make reasonable accommodations in policies, practices and procedures to

          provide full and equal enjoyment of disabled individuals and does not maintain the elements

          required to be accessible and usable by persons with disabilities violating Section 36.211 of

          the ADAAG and the 2010 ADA Standards.

          B. Public Restrooms

  i.      Plaintiff could not use coat hooks, soap, towel and seat cover dispensers mounted beyond


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          reach ranges in Section 4.2 of the ADAAG and ADAAS Section 308 in tenant restrooms.

          Toilet paper dispensers are improperly located in violation of ADAAG Section 4.16 and the

          2010 ADAS in tenant restrooms.

 ii.      Mr. Cuesta could not use stalls in tenant restrooms, at DD’s there are several violations of

          ADAAG Section 4.17 and 2010 ADAS Section 604.

                                    RELIEF SOUGHT AND THE BASIS

              32.     The discriminatory violations described in Counts I through III are not an exclusive

       list of the Defendants’ ADA violations. Plaintiff requests an inspection of the Defendants’ places

       of public accommodation in order to photograph and measure all of the discriminatory acts

       violating the ADA and barriers to access in conjunction with Rule 34 and timely notice. Plaintiff

       further requests to inspect any and all barriers to access that were concealed by virtue of the

       barriers' presence, which prevented Plaintiff, CARLOS CUESTA, from further ingress, use, and

       equal enjoyment of the Commercial Business and business located within the Commercial

       Property; Plaintiff requests to be physically present at such inspection in conjunction with Rule

       34 and timely notice. A complete list of the Subject Premises’ ADA violations, and the remedial

       measures necessary to remove same, will require an on-site inspection by Plaintiff’s

       representatives pursuant to Federal Rule of Civil Procedure 34.

              33.     The individual Plaintiff, and all other individuals similarly situated, have been

       denied access to, and have been denied full and equal enjoyment of the goods, services, facilities

       privileges, benefits, programs and activities offered by Defendants, Defendants’ buildings,

       business and facilities; and has otherwise been discriminated against and damaged by the

       Defendants because of the Defendants’ ADA violations as set forth above. The individual

       Plaintiff, and all others similarly situated, will continue to suffer such discrimination, injury and



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   damage without the immediate relief provided by the ADA as requested herein. In order to remedy

   this discriminatory situation, The Plaintiff requires an inspection of the Defendants’ place of

   public accommodation in order to determine all of the areas of non-compliance with the

   Americans with Disabilities Act.

           34.     Defendants have discriminated against the individual Plaintiff by denying him

   access to full and equal enjoyment of the goods, services, facilities, privileges, advantages and/or

   accommodations of its place of public accommodation or commercial facility, in violation of 42

   U.S.C. § 12181 et seq. and 28 CFR 36.302 et seq. Furthermore, the Defendants continue to

   discriminate against Plaintiff, and all those similarly situated, by failing to make reasonable

   modifications in policies, practices or procedures, when such modifications are necessary to afford

   all offered goods, services, facilities, privileges, advantages or accommodations to individuals

   with disabilities; and by failing to take such efforts that may be necessary to ensure that no

   individual with a disability is excluded, denied services, segregated or otherwise treated

   differently than other individuals because of the absence of auxiliary aids and services.

           35.     Plaintiff is without adequate remedy at law, will suffer irreparable harm, and has a

   clear legal right to the relief sought. Further, injunctive relief will serve the public interest and all

   those similarly situated to Plaintiff. Plaintiff has retained the undersigned counsel and is entitled

   to recover attorneys’ fees, costs and litigation expenses from Defendants pursuant to 42 U.S.C. §

   12205 and 28 CFR 36.505.

           36.     A Defendant is required to remove the existing architectural barriers to the

   physically disabled when such removal is readily achievable for their place of public

   accommodation, The Plaintiff and all others similarly situated, will continue to suffer such

   discrimination, injury and damage without the immediate relief provided by the ADA as requested



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   herein. In order to remedy this discriminatory situation, The Plaintiff requires an inspection of the

   Defendants’ place of public accommodation in order to determine all of the areas of non-

   compliance with the Americans with Disabilities Act.

          37.     Notice to Defendants is not required as a result of the Defendants’ failure to cure

   the violations by January 26, 1992 (or January 26, 1993, if a Defendants have 10 or fewer

   employees and gross receipts of $500,000 or less). All other conditions precedent have been met

   by Plaintiff or waived by the Defendant.

          38.     Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

   Plaintiff Injunctive Relief, including an order to alter the property where Defendants operate the

   business, located at and/or within the commercial property located at 10520 SW 8th Street, Miami,

   Florida 33174, the exterior areas, and the common exterior areas of the Commercial Property and

   business located within the Commercial Property, to make those facilities readily accessible and

   useable to The Plaintiff and all other mobility-impaired persons; or by closing the facility until

   such time as the Defendants cure the violations of the ADA.

          WHEREFORE, The Plaintiff, CARLOS CUESTA, respectfully requests that this

   Honorable Court issue (i) a Declaratory Judgment determining Defendant at the commencement

   of the subject lawsuit were and are in violation of Title III of the Americans with Disabilities Act,

   42 U.S.C. § 12181 et seq.; (ii) Injunctive relief against Defendant including an order to make all

   readily achievable alterations to the facilities; or to make such facilities readily accessible to and

   usable by individuals with disabilities to the extent required by the ADA; and to require Defendant

   to make reasonable modifications in policies, practices or procedures, when such modifications

   are necessary to afford all offered goods, services, facilities, privileges, advantages or

   accommodations to individuals with disabilities; and by failing to take such steps that may be



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   necessary to ensure that no individual with a disability is excluded, denied services, segregated or

   otherwise treated differently than other individuals because of the absence of auxiliary aids and

   services; (iii) An award of attorneys’ fees, costs and litigation expenses pursuant to 42 U.S.C. §

   12205; and (iv) such other relief as the Court deems just and proper, and/or is allowable under

   Title III of the Americans with Disabilities Act.

   Dated: July 7, 2021

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                                                 By: ___/s/_Anthony J. Perez________
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